    Case 19-12917-JDW         Doc 22 Filed 08/28/19 Entered 08/28/19 13:28:44                    Desc BK
                               Hearing/Resp Ddl Only Page 1 of 1
                                                                                             CM/ECF hrg13
                                                                                             (Rev. 07/22/16)

                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI

In Re: Annie D. Lester                               )                 Case No.: 19−12917−JDW
       Debtor(s)                                     )                 Chapter: 13
                                                     )                 Judge: Jason D. Woodard
                                                     )
                                                     )


      PLEASE TAKE NOTICE that a hearing will be held at:
             Oxford Federal Building, 911 Jackson Avenue, Oxford, MS 38655
             on 9/17/19 at 01:30 PM
             Responses Due: 9/13/19
             to consider and act upon the following:
             21 − Motion to Abandon ., Motion for Relief from Stay ., Motion for Relief from
             Stay (Codebtor or Child Support) Filed by Bart M. Adams on behalf of 1st Franklin
             Financial . Entered on Docket by: (CHH)

       Should any party receiving this notice respond or object to said motion such response or
objection is required to be filed with the Clerk of this court and served on the Attorney for
Movant on or before said response due date. If any objection or response is filed, an evidentiary
hearing will be held on the above mentioned date regarding any facts not stipulated to by the
parties. If no objection or response is filed, the Court may consider said motion immediately after
the objection or response due date. Please note that a corporation, partnership, trust, or other
business entity, other than a sole proprietorship, may appear and act in Bankruptcy Court only
through a licensed attorney.
Dated: 8/28/19
                                                         Shallanda J. Clay
                                                         Clerk, U.S. Bankruptcy Court
                                                         BY: AOH
                                                             Deputy Clerk
